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 1
                                                              HONORABLE BENJAMIN SETTLE
 2                                                           HONORABLE DAVID W. CHRISTEL
 3

 4

 5
                                    UNITED STATES DISTRICT COURT
 6                                 WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA
 7

 8

 9       REBECCA J. LEEPER, an individual,

10
                                             Plaintiff,
11                                                        NO. 3:20-cv-05467-BHS
12              vs.
                                                          PLAINTIFF’S MOTION FOR PARTIAL
13                                                        SUMMARY JUDGMENT REGARDING
         CITY OF TACOMA, a municipal                      DEFENDANTS’ AFFIRMATIVE
         corporation; TEL C. THOMPSON, and
14                                                        DEFENSES
         JOHN DOES 1-5, in their individual
         capacities,
15                                                        NOTING DATE: APRIL 30, 2021
16
                                           Defendants.
17

18                                            I.      INTRODUCTION
19              Plaintiff Rebecca Leeper respectfully asks that this Court grant her motion for partial
20   summary judgment regarding defendants’ affirmative defenses (1) no causation and (2) failure
21   to mitigate.
22                                           II.     RELEVANT FACTS

23   A.         Plaintiff Rebecca Leeper’s July 17, 2018 Sexual Assault
                On July 17, 2018, Plaintiff Rebecca Leeper was at the South 19th Street Fred Meyer
24
     store location in Tacoma, Washington, working in her role as a Loss Prevention Manager. 1
25

26
     1
         NBD Decl. at Ex. 1.
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 1
     Tacoma Police Department (“TPD”) officer Defendant Tel Thompson was also working at that
 2
     same store location that day providing security services. 2 As Rebecca entered the Loss
 3
     Prevention office, Defendant Thompson, wearing his full TPD uniform, jumped out from
 4
     behind a door. 3
 5
                Defendant Thompson then proceeded to grab and slap Rebecca’s breasts, while
 6
     exclaiming, “look at these tits; they’re huge” to everyone in the room. 4 Defendant Thompson
 7
     then grabbed Rebecca’s bra straps and aggressively shook them up and down repeatedly, in an
 8
     attempt to make Rebecca’s breasts bounce and jiggle. 5 After physically and sexually assaulting
 9
     Rebecca, Defendant Thompson displayed a picture of his penis on his phone, and then thrust
10
     his pelvis back and forth soliciting an invitation to Rebecca to tap his genitals. 6
11
                In response to Defendant Thompson’s actions, TPD initiated two separate Internal
12
     Affairs investigations, both of which revealed that Defendant Thompson would regularly
13
     display inappropriate conduct while providing security services at Fred Meyer. 7 Defendant
14
     Thompson would show nude photos of he and his wife engaged in sexual intercourse to Fred
15
     Meyer staff, he would show pornographic videos of women being “fisted” in their genitals, he
16
     would make sexual innuendos to Fred Meyer customers, and he would regularly make
17
     numerous female Fred Meyer employees feel so uncomfortable that Rebecca herself had to ask
18
     TPD to no longer assign Defendant Thompson to work at her regular Fred Meyer store. 8
19
                As a result of his behaviors, Defendant Thompson was terminated from TPD. 9 In
20
     documents associated with his termination, Assistant Chief of Police Ed Wade specifically
21
     noted that “anyone witnessing this type of behavior by a uniformed police officer would be
22

23   2
       Id. at Exs. 1; 2.
     3
       Id. at Exs. 2; 3, 87:21-89:2.
24   4
       Id. at Exs. 2; 3, 89:20-91:1.
     5
       Id.
25   6
       Id. at Exs. 2; 3. 93:6-94:7.
     7
       Id. at Exs. 2; 4.
26   8
       Id.
     9
       Id. at Ex. 5, 77:13-78:7.
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 1
     shocked” and that “it was clear from Rebecca Leeper’s interview that the incident left her
 2
     ‘shocked, embarrassed, kind of dumbfounded…’” 10
 3
             Following her sexual assault, Rebecca attended six (6) separate outpatient mental health
 4
     counseling sessions for follow-up care, which were paid for by her employer. 11 Once her
 5
     employer stopped paying for therapy, she was forced to discontinue treatment due to financial
 6
     constraints. 12
 7
     B.      Procedural Posture
 8           1.        Plaintiff’s Complaint
 9           On April 13, 2020, Plaintiff Rebecca Leeper filed a Complaint for Damages against

10   Defendants City of Tacoma (the “City”), Tel Thompson, and John Does 1-5 in Pierce County

11   Superior Court for injuries sustained as a result of her July 17, 2018 sexual assault. 13 In her

12   complaint, she alleged that “[a]s a direct and proximate result of the sexual assault and

13   harassment that Plaintiff [] experienced, she has suffered significant damages, including but not

14   limited to symptoms of depression and anxiety, feelings of shame, fear, anger, sadness, and

15   embarrassment, as well as physical health problems, hypervigilance and irritability.” 14

16           2.        Defendants’ Affirmative Defenses

17           On May 26, 2020, the City and Thompson filed their respective Answers to Plaintiff’s

18   Complaint for Damages. 15 In the City’s pleading, it raised six affirmative defenses, two of

19   which are at issue in this briefing: (1) no causation between the acts alleged and the damages

20   claimed; and (2) failure to mitigate damages. 16 In Thompson’s answer, he also raised the

21   affirmative defense of failure to mitigate. 17
             3.        Defendants Have Not Provided Evidence to Support their Affirmative Defenses
22

23   10
        Id. at Ex. 2.
     11
        Id. at Ex. 3, 100:7-20.
24   12
        Id. at Ex. 3, 102:6-17.
     13
        Docket (“Dkt.”) No. 2.
25   14
        Id.
     15
        Dkt. Nos. 6; 7.
26   16
        Dkt. No. 6.
     17
        Dkt. No. 7.
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 1

 2
             Following receipt of defendants’ Answers, the Court issued an Initial Pretrial
 3
     Scheduling Order on July 1, 2020. 18 In its order, the Court set numerous expected deadlines,
 4
     including that of the Expert Witness Disclosure deadline for December 24, 2020. 19
 5
             On December 24, 2020, in accordance with the case scheduling order, Plaintiff disclosed
 6
     mental health/trauma expert Phoebe Mulligan’s written report, in which she opined that
 7
     Rebecca suffered PTSD as a result of the July 2018 sexual assault. 20 Despite being fully aware
 8
     of the claims brought by Rebecca, as well as their respective affirmative defenses, both the City
 9
     and Thompson allowed the Expert Disclosure Deadline to pass without naming a single liability
10
     or damages expert.
11
             On January 19, 2021, Plaintiff served Defendant City of Tacoma with her first
12
     interrogatories and requests for production. 21 Within the discovery set, Plaintiff requested more
13
     information regarding the City’s affirmative defenses:
14
                 INTERROGATORY NO. 18: If you are asserting any affirmative
15               defense(s) to the Complaint in this action, please identify each affirmative
                 defense and explain the factual basis for it. 22
16
             In response, on February 19, 2021, the City reiterated the same affirmative defenses it
17
     plead in its Answer several months prior. 23 In addition, the City also provided more information
18
     regarding the factual basis for its claims:
19               No Causation: Plaintiff claims to have sustained PTSD as a result of Tel
20               Thompson’s actions. Thomspon [sic] was not acting within the course or
                 scope of his employment as a police officer when he engaged in this
21               conduct. This answer will be supplemented by Dr. Robinson’s opinions as
                 contained in his report to be provided by February 25, 2021, per the court’s
22               order.
23                                      *            *              *
24   18
        Dkt. No. 11.
     19
        Id.
25   20
        NBD Decl. at Ex. 6.
     21
        Id. at Ex.7.
26   22
        Id.
     23
        Id. at Ex. 8.
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 1               Failure to Mitigate: Plaintiff has testified that the limited counseling she
                 obtained was helpful, although plaintiff failed to appear for 6 of the 12 visits
 2               she had scheduled with a counselor. Plaintiff stopped counseling because of
                 monetary concerns, but did not explore any options to obtain the necessary
 3
                 counseling from a provider who provides such services on a sliding scale.
 4   (emphasis added). 24
 5           On February 25, 2021, the City disclosed Douglas Robinson, MD, as a rebuttal expert
 6   witness in this matter. 25 According to the City’s disclosure, Dr. Robinson was retained to rebut
 7   the expert testimony regarding Plaintiff’s mental state offered by Plaintiff’s expert, Phoebe
 8   Mulligan. 26
 9           To date, Defendant Thompson has failed to disclose any expert testimony whatsoever.
10
                                   III.       EVIDENCE RELIED UPON
11
             This motion relies upon the Declaration of Nicholas B. Douglas In Support of Plaintiff’s
12
     Motion for Partial Summary Judgement; and the pleadings, exhibits, and documents already on
13
     file in this matter.
14                                      IV.     LEGAL ARGUMENT
15   A.      Legal Standard
16           Summary judgment is appropriate where “there is no genuine issue as to any material

17   fact and the moving party is entitled to a judgment as a matter of law.” Rockwell Intern. Corp.

18   v. U.S., 147 F.3d 1358, 1361 (Fed. Cir. 1998) (citing SRI Int'l v. Matsushita Elec. Corp., 775

19   F.2d 1107, 1116 (Fed. Cir. 1985)); Fed. R. Civ. P. 56(c). “[T]here is no issue for trial unless

20   there is sufficient evidence favoring the nonmoving party for a jury to return a verdict for that

21   party. If the evidence is merely colorable . . . or is not significantly probative . . . summary

22   judgment may be granted.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-50, 106 S.Ct.

23   2505, 91 L.Ed.2d 202 (1986); accord Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir.

24   2000) (the existence of a scintilla of evidence that is merely colorable is not sufficient to present

25
     24
       Id.
26   25
       Dkt. No. 27.
             26
                Id.
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 1
     a genuine issue of material fact); Triton Energy Corp. v. Square D Co., 68 F.3d 1216, 1221 (9th
 2
     Cir. 1995) (summary judgment should be granted where the nonmoving party fails to offer any
 3
     material evidence from which a reasonable jury could return a verdict in its favor). The Supreme
 4
     Court has emphasized that summary judgment is not “a disfavored procedural shortcut, but
 5
     rather . . . an integral part of the Federal Rules as a whole, which are designed ‘to secure the
 6
     just, speedy, and inexpensive determination of every action.”’ Celotex Corp. v. Catrett, 477
 7
     U.S. 317, 327, 106 S. Ct. 2548, 2555 (1987) (quoting Fed. R. Civ. P. 1).
 8
     B.      Two of Defendants’ Affirmative Defenses Should Be Dismissed
 9           This motion moves the Court to dismiss two separate affirmative defenses, both of
10   which defendants bear the burden of proof on each element of that defense. See Haslund v.
11   Seattle, 86 Wn.2d 607, 620-21, 547 P.2d 1221 (1976); Queen City Farms v. Central Nat’l Ins.,
12   126 Wn.2d 50, 97, 882 P.2d 703 (1994). The Court should grant summary judgment and dismiss
13   defendants’ affirmative defenses because neither defendant can provide competent evidence to
14   support essential elements of the defenses under Washington law.
15           1.      No Causation
16           “The causal relationship of an accident or injury to a resulting physical condition must

17   be established by medical testimony beyond speculation and conjecture.” Miller v. Staton, 58

18   Wn.2d 879, 886, 365 P.2d 333, 337 (1961). “Less certain evidence, such as may, might, could

19   or possibly, does not provide enough guidance to a jury to remove the decision making process

20   from speculation and conjecture.” Bruns v. PACCAR, Inc., 77 Wn. App. 201, 215, 890 P.2d 469

21   (1995) (emphasis added).

22           “Testimony that goes no further than to indicate that the injury might have caused the

23   condition is insufficient; there must be some evidence of probative value that removes the

24   question of causal relation from the field of speculation and surmise.” Zipp v. Seattle School

25   Dist. No. 1, 36 Wn. App. 598, 676 P.2d 538 (1984) (citing Jacobson v. Department of Labor

26   and Indus., 37 Wn.2d 444, 451, 224 P.2d 338 (1950)).

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 1
             In this case, Defendant City of Tacoma has failed to present any valid expert medical
 2
     testimony regarding its “no causation” affirmative defense.
 3
             Plaintiff anticipates the City arguing that its rebuttal expert Dr. Douglas Robinson’s
 4
     opinion helps it meet its burden, but rebuttal evidence may not be used to establish a case-in-
 5
     chief. Alsadi v. Intel Corp., CV-16-03738-PHX-DGC, 2019 WL 4849482, at *12 (D. Ariz.
 6
     Sept. 30, 2019) (“[R]ebuttal evidence may be used to challenge the evidence or theory of an
 7
     opponent – and not to establish a case-in-chief.” citing Marmo v. Tyson Fresh Meats, Inc., 457
 8
     F.3d 748, 759 (8th Cir. 2006); see Ellis v. Corizon, Inc., No. 1:15-CV-00304-BLW, 2018 WL
 9
     6268199, at *5 (D. Idaho Nov. 30, 2018) (precluding the plaintiff's rebuttal expert from
10
     testifying in the case-in-chief and noting that if defendants decided not to present their experts
11
     at trial, the plaintiff would be foreclosed from putting his rebuttal expert on the stand);
12
     Danganan v. Am. Family Mut. Ins., No. 2:17-CV-02786-RFB-PAL, 2018 WL 3660198, at *4
13
     (D. Nev. Aug. 2, 2018) (same); Kirksey v. Schindler Elevator Corp., No. CV 15-0115-WS-N,
14
     2016 WL 5213928, at *17 (S.D. Ala. Sept. 21, 2016) (same); Palm Capital, LLC v. Travelers
15
     Prop. Cas. Co. of Am., No. CV-15-6385-DMG (PJWx), 2017 WL 5665010, at *2 (C.D. Cal.
16
     Apr. 3, 2017) (holding that the plaintiff would “be limited to using its rebuttal experts for just
17
     that – rebuttal – and may not call upon them to testify in its case-in-chief”); Grove City
18
     Veterinary Serv., LLC v. Charter Practices, Int’l LLC, No. 3:13-CV-2276-AC, 2016 WL
19
     1573830, at *16 (D. Or. Apr. 19, 2016) (explaining that rebuttal testimony is not “an
20
     opportunity for the correction of any oversights in the plaintiff's case in chief”) (citation
21
     omitted); Sharma v. City of Vancouver, No. C06-5688BHS, 2008 WL 11343467, at *2 (W.D.
22
     Wash. June 17, 2008) (“Until and unless Defendants’ experts testify, Plaintiff’s experts will be
23
     unable, as a practical matter, to truly rebut such testimony. Therefore, Plaintiff’s rebuttal experts
24
     will be allowed to testify at trial only after Defendants’ experts have testified.”); Santiago v.
25
     Select Portfolio Servicing, Inc., No. CV07-262-S-EJL, 2008 WL 4411392, at *5 (D. Idaho Sept.
26
     25, 2008) (“Plaintiff will not be allowed to ... use the rebuttal expert in her case-in-chief, instead,
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 1
     such an expert witness, if any, shall only be called as a rebuttal witness.”); Int’l Bus. Machines
 2
     Corp. v. Fasco Indus., Inc., No. C-93-20326 RPA, 1995 WL 115421, at *3 (N.D. Cal. Mar. 15,
 3
     1995) (“[A] party can control the scope of the testimony of its adversary’s rebuttal experts by
 4
     limiting its own experts’ testimony to a given subject matter. A party who forgoes designating
 5
     experts on the initial disclosure date will thus find itself in a purely reactive mode, greatly
 6
     restricted in its ability to offer expert testimony.”).
 7
             For the same reason, district courts are “not required to consider rebuttal expert reports
 8
     from a non-moving party at the summary judgment phase.” Ellis, 2018 WL 6268199, at *4.
 9
     “Rule 56 motions are designed to test the sufficiency of the non-moving party’s case-in-chief,
10
     and weed out cases which cannot be successfully presented at trial[,] ... and the “purpose of
11
     Rule 56 is best served by only considering evidence which the non-moving party could properly
12
     submit as part of its case-in-chief.” Id.; Alsadi, 2019 WL 4849482, at *14 (limited the testimony
13
     of rebuttal experts to the non-moving party’s rebuttal case at trial); see Daggett v. United States,
14
     No. 08-21026-CIV, 2010 WL 11553196, at *1 (S.D. Fla. Feb. 4, 2010) (“the plaintiffs cannot
15
     rely on experts designated solely as rebuttal experts in their case-in-chief to try to avoid
16
     summary judgment”); Waste Servs., Inc. v. Waste Mgmt., Inc., No. 06-320, 2006 WL 5109230
17
     at *1 (M.D. Fla. Dec. 1, 2006) (disallowing testimony of rebuttal expert on matters on which
18
     the plaintiff has the burden of proof at trial).
19
             Ipso facto, the City’s affirmative defense of “No Causation” should be dismissed
20
     accordingly.
21
             2.      Failure to Mitigate
22           In their respective Answers, Defendants City of Tacoma and Thompson both raise the
23   affirmative defense of failure to mitigate.
24           As this Court is likely well aware, “[a]n injured person may not recover damages
25   proximately caused by that person's unreasonable failure to mitigate.” Fox v. Evans, 127 Wn.
26   App. 300, 301 (2005) (citation omitted). “The burden of proving failure to mitigate is on the
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 1
     party whose wrongful conduct caused the damage.” Bernsen v. Big Bend Elec. Co-op., Inc., 68
 2
     Wn. App. 427, 435 (1993). Here, the defendants have presented no evidence that Rebecca
 3
     Leeper contributed to her damages due to any unreasonable action of her own. After being
 4
     sexually assaulted and publicly humiliated in front of her co-workers, Rebecca sought treatment
 5
     sessions with a mental health counselor. No reasonable jury could find that Rebecca acted
 6
     unreasonably given her circumstances. The defendants, likewise, have presented no expert
 7
     support for this defense.      The Court should grant summary judgment and dismiss this
 8
     affirmative defense because that claim is not viable under Washington law.
 9
                                         V.     CONCLUSION
10           For the foregoing reasons, Plaintiff respectfully asks the Court to grant her motion for
11   partial summary judgment regarding defendants’ affirmative defenses (1) no causation and (2)
12   failure to mitigate.
13           //
14           //
15           //
16           //
17           //
18           //
19           //
20           //
21           //
22           //
23           //
24           //
25           //
26           //
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 1          DATED this 8th day of April, 2021.
 2
                                              COCHRAN DOUGLAS, PLLC
 3

 4                                      By:

 5
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 1                                       CERTIFICATE OF SERVICE
 2
             I, Kim Snyder, hereby declare under penalty of perjury under the laws of the State of
 3
     Washington and the United States of America that I am employed at Cochran Douglas, PLLC
 4
     and that on today’s date, I served the foregoing via email and ECF by directing delivery to the
 5
     following individuals:
 6

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                      Attorneys for Defendant Tel Thompson
16

17           DATED this 8th day of April, 2021.
18

19

20
                                              By:   /s/ Kim Snyder
21                                                  Kim Snyder
22

23

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25

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